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                 IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF PENNSYLVANIA

                                           :
 CORNEL WEST AND MELINA                    :   No. 2:24-cv-01349
 ABDULLAH, GERALDINE                       :
 TUNSTALLE, KATHERINE HOPKINS-             :   (filed electronically)
 BOT, AND CHARLES HIER,                    :
                                           :
                           Plaintiffs,     :
                                           :
               v.                          :
                                           :
 PENNSYLVANIA DEPARTMENT OF                :
 STATE AND AL SCHMIDT, IN HIS              :
 CAPACITY AS SECRETARY OF THE              :
 COMMONWEALTH,                             :
                                           :
                           Defendants.


                        JOINT STIPULATION OF FACTS

      Plaintiffs Cornel West and Melina Abdullah, Geraldine Tunstalle, Katherine

Hopkins-Bot, and Charles Hier and Defendants Pennsylvania Department of State

and Al Schmidt, in his capacity as Secretary of the Commonwealth, do hereby

stipulate and agree that the following facts are undisputed for the purpose of a

hearing on Plaintiffs’ Motion for a Temporary Restraining Order and Preliminary

Injunction:

      1.      Defendant Department of State (Defendant) is a Pennsylvania

Executive Branch Agency under the leadership of the Secretary of the

Commonwealth.
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        2.      Defendant Secretary of the Commonwealth Al Schmidt is the Secretary

of the Commonwealth with certain enumerated responsibilities under the Election

Code.

        3.      Plaintiff Cornel West is Justice for All’s candidate for President of the

United States.

        4.      Plaintiff Melina Abdullah is Justice for All’s candidate for Vice-

President of the United States.

        5.      Justice for All is considered a political body under the Pennsylvania

Election Code.

        6.      The Pennsylvania Election Code, including specifically 25 P.S. §§ 2911-

2914, governs nomination of candidates by political bodies.

        7.      The deadline for political bodies to submit nomination papers to the

Department for the 2024 general election was August 1, 2024, at 5 pm.

        8.      The Department’s website has a page titled “Third Party Nomination

Paperwork.”1

        9.      The frequently asked questions portion of that page states the following:

                Do presidential electors need to complete the
                Candidate’s affidavit?

                Yes, minor political party and political body candidates
                for the office of presidential elector must file candidates’
                affidavits by the August 1 deadline. 25 P.S. §§ 2911(e),
                2913(a).




1 See https://www.pa.gov/en/agencies/dos/programs/voting-and-elections/running-for-office/third-

party-nomination-paperwork.html#accordion-21c3b2a9ea-item-f2eb7b4ba2.

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       10.    The frequently asked questions portion of that page also states the

following:

              Do presidential electors submitting nomination
              papers need to have the same party affiliation as
              the candidate?

              No, but any person who is a registered and enrolled
              member of the Democratic, Republican, or Libertarian
              party during any period of time beginning thirty (30) days
              before the primary and extending through the general or
              municipal election of that same year is ineligible to be a
              candidate for presidential elector of a political body in a
              general or municipal election held in that same year. 25
              P.S. § 2911(e).

       11.    The frequently asked questions portion of that page also states the

following:

              Does a Presidential candidate need to provide all
              19 electors, or can they have less than that?

              A presidential candidate must nominate 19 individuals to
              serve as candidates for the office of presidential elector.

       12.    These FAQs were posted on the Department’s website as of June 7, 2024.

       13.    The Nomination Paper form created by the Department requires

candidates for President and Vice-President to list all nineteen presidential electors

on each sheet.

       14.    On July 11, 2024, Cornel West and Melina Abdullah (“Candidates”) filed

Nomination Papers (the “West/Abdullah Nomination Papers”) with Defendants.

       15.    The West/Abullah Nomination Papers contained 1,287 signature pages.

       16.    Candidates also paid the relevant filing fee and attached some candidate

affidavits.

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      17.    On that same day, July 11, 2024, Defendants issued to a campaign

representative of Candidates, who was the same person that filed the Nomination

Papers, a notice that Defendants did not receive a valid candidate affidavit from any

nominees for presidential elector. The notice stated that nomination papers with

valid affidavits needed to “be received by this office no later than 5:00 P.M., Thursday,

August 1st, 2024.” A copy of this notice is attached to this stipulation as Joint Exhibit

1.

      18.    On July 29, 2024, the Department received candidate affidavits from

two of Justice for All’s nominees for presidential elector. One of these affidavits was

from Plaintiff Geraldine Tunstalle. Copies of these affidavits are attached to this

stipulation as Joint Exhibit 2.

      19.    On July 30, 2024, the Department emailed notices to each of the two

nominees as well as the Cornel West campaign that the affidavits were deficient

because they failed to list each nominee’s municipality. Copies of these emails and

notices are attached to this stipulation as Joint Exhibit 3.

      20.    On August 1, 2024, the Department received by mail candidate

affidavits from eight of Justice for All’s nominees for presidential elector. One of the

nominees—Plaintiff Charles B. Hier—had crossed off language from the affidavit

stating “that if I am a candidate for election at a general election or municipal election

I shall not be a registered and enrolled member of a political party at any time during

the period of thirty (30) days prior to the primary up to and including the day of the

following general or municipal election, or if I am a candidate for election at a special


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election, I am not a registered and enrolled member of a political party.” Copies of

these affidavits are attached to this stipulation as Joint Exhibit 4.

      21.    At 4:21 pm on August 1, 2024, the Chief Counsel for the Department of

State received an email from Mr. Matthew Haverstick—counsel for plaintiffs here—

attaching affidavits from seven of Justice for All’s nominees for presidential elector.

One of the nominees—Plaintiff Katherine Hopkins-Bot—had crossed off language

from the affidavit stating “that if I am a candidate for election at a general election

or municipal election I shall not be a registered and enrolled member of a political

party at any time during the period of thirty (30) days prior to the primary up to and

including the day of the following general or municipal election.” A copy this email

and affidavits are attached to this stipulation as Joint Exhibit 5.

      22.     At 5:42 pm on August 1, 2024, the Chief Counsel for the Department of

State received an email from Mr. Haverstick attaching an affidavit from one of

Justice for All’s nominees for presidential elector. A copy of this email and affidavit

are attached to this stipulation as Joint Exhibit 6.

      23.     On August 1, 2024, Defendants rejected the West/Abdullah Nomination

Papers because they did not have candidate affidavits for all nineteen individual

presidential electors. The rejection notice stated the “candidate may choose to file a

mandamus action in Commonwealth Court, asking the court to order the Secretary

of the Commonwealth Court to accept the nomination petitions pursuant to Section

976 of the Pennsylvania Election Code, 25 P.S. sec. 2936.” The rejection notice further




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stated that “Failure to act in a timely manner may impair any potential remedies you

seek.” A copy of the rejection notice is attached to this stipulation as Joint Exhibit 7.

      24.    The next day, the Department emailed the rejection notice to

Candidates’ campaign. A copy of this email is attached to this stipulation as Joint

Exhibit 8.

      25.    On August 5, 2024, a copy of the rejection notice was mailed to the

address the Candidates provided to the Department. The notice was received on

August 6, 2024. A copy of the proof of delivery is attached to this stipulation as Joint

Exhibit 9.

      26.    On August 7, 2024, Mr. Shohin Vance—counsel for plaintiffs here—

emailed the Chief Counsel for the Department of State on behalf of “various

interested individuals, including electors who have signed the Nomination Paper of

Cornel West for President and Melina Abduallah for Vice President” asking to

“discuss with you the Department of State’s apparent refusal to recognize the

candidacy of said individuals.” On August 8, 2024, the Chief Counsel for the

Department responded asking “Can you tell me who exactly you represent in this

matter?” A copy of this email is attached to this stipulation as Joint Exhibit 10.

      27.    On August 15, 2024, certain presidential electors and substitute

presidential electors for Candidates filed a mandamus and declaratory relief action

with the Commonwealth Court under the Court’s original jurisdiction related to

Defendants’ rejection of the West/Abdullah Nomination Papers.




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      28.    The Commonwealth Court dismissed the action filed by Candidates’

presidential electors and the Pennsylvania Supreme Court affirmed. See Williams v.

Pa. Dep’t of State, 2024 WL 3912684 (Pa. Cmwlth., No. 394 M.D. 2024, filed Aug. 23,

2024), aff’d, 2024 WL 4195131 (Pa., No. 25 WAP 2024, filed Sept. 16, 2024).

      29.    On August 28, 2024, Candidates filed an application to intervene in the

Williams case while it was on appeal before the Supreme Court. Candidates were

denied intervention. In their intervention application, Candidates represented that

on August 22, 2024, they had hired the same counsel that represents them in this

matter. A copy of the intervention application is attached as Exhibit 11.




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On behalf of Plaintiffs,                On behalf of Defendants,

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Dated: October 7, 2024




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